                                                                                                  Entered on Docket
                                                                                                  March 14, 2019
                                                                                                  EDWARD J. EMMONS, CLERK
                                                                                                  U.S. BANKRUPTCY COURT
                                                                                                  NORTHERN DISTRICT OF CALIFORNIA



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                                                                                             The following constitutes the order of the Court.
                                             2                                               Signed: March 14, 2019
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                                             4                                               _________________________________________________
                                                                                             M. Elaine Hammond
                                                                                             U.S. Bankruptcy Judge
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                                                                         UNITED STATES BANKRUPTCY COURT
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                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                   ) Case No. 18-51575 MEH
                                            10   In re                                             )
UNITED STATES BANKRUPTCY COURT




                                                                                                   ) Chapter 13
  for the Northern District of California




                                            11   Gloria Cabral Robles,                             )
                                                                                                   )
                                            12                                                     )
                                                                                                   )
                                            13                                                     )
                                                                                                   )
                                            14                               Debtor(s).            )
                                                                                                   )
                                            15                                                     ) Adv. No. 18-05032
                                                                                                   )
                                            16   Gloria Cabral,                                    )
                                                                                                   )
                                            17                              Plaintiff.             )
                                                                                                   )
                                            18   v.                                                )
                                                 Jeffrey Allen Mentzos and                         )
                                            19                                                     )
                                                 Kurt Anthony Miller,
                                                                                                   )
                                            20                              Defendant.             )
                                                                                                   )
                                            21                                                     )
                                            22                       ORDER VACATING DISCOVERY CUT-OFF DATE
                                            23           A status conference in the above-entitled matter was held on March 13, 2019.
                                            24   Appearances were stated on the record. Good cause appearing, it is
                                            25           ORDERED as follows:
                                            26           1. The fact discovery cut-off date of April 15, 2019 is vacated.
                                            27           2. The status conference in this matter is continued to April 8, 2019 at 10:00 a.m.
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                                             1          3. At the status conference on April 8, 2019, the court will decide whether to retain
                                             2   jurisdiction over this adversary proceeding following dismissal of the bankruptcy case. See In
                                             3   re Carraher, 971 F.2d 327, 328 (9th Cir. 1992).
                                             4                                     ***END OF ORDER***
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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                                             1                                 COURT SERVICE LIST
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                                             3   Via ECF:
                                             4   All ECF Recipients
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UNITED STATES BANKRUPTCY COURT
  for the Northern District of California




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